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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION



IN RE:                                          Case No.   CR116•045, USAv. Grant, et al
                                                           CRiiy-•047, USAv. Birt, et al
LEAVE OF ABSENCE                                           CRii7-•072, USAv. Moment
PATRICIA G. RHODES                                         CR118-007, USA V. Frank
November 8,2018 through                                    CR118•008, USAv. Pate
November 12, 2018                                          CR118-009, USA V. Tate
                                                           CR118 ■016, USAv. Kelly
                                                           CR118 ■019, USAv. Turner
                                                           CR118 •021, USA V. Dominguez, et al
                                                           CR118 ■029, USA V. Okolie, et al
                                                           CR118 ■048, USA V. lyier
                                                           CR118 -052, USA V. Battle, et al
                                                           CR116 •045, USAv. Hunter
                                                           CR113 ■010, USAv. McNair


                     ORDER ON MOTION FOR LEAVE OF ABSENCE



         Patricia G. Rhodes having made application to the Court for a leave of absence, and it

being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

         IT IS HEREBY ORDERED THAT Patricia G. Rhodes be granted leave of absence for

the following periods: November 8, 2018 through November 12, 2018.
                  rO
         This      day of October, 2018.




                                            J. RANDAfHALL, CHIEF JUDGE
                                            UNITEDOTATES DISTRICT COURT
                                                     DISTRICT OF GEORGIA
